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                 In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                              No. 12-854V
                                          (Not to be published)

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                                     *
CLAUDIA HUERTA and                   *                                    Filed: February 3, 2015
ELEAZAR HUERTA,                      *
as the Parents and Natural Guardians *
of V.H., a Minor,                    *                                    Decision by Stipulation; Attorneys’
                                     *                                    Fees & Costs
                     Petitioners,    *
                                     *
               v.                    *
                                     *
                                     *
SECRETARY OF HEALTH AND              *
HUMAN SERVICES,                      *
                                     *
                     Respondent.     *
                                     *
*****************************

Mark Theodore Sadaka, Mark T. Sadaka, LLC, Englewood, NJ, for Petitioners.

Alexis Babcock, U.S. Dep’t of Justice, Washington, DC, for Respondent.

                            ATTORNEYS’ FEES AND COSTS DECISION1

       On December 10, 2012, Claudia Huerta and Eleazar Huerta, as parents of a minor child,
V.H., filed a petition seeking compensation under the National Vaccine Injury Compensation
Program.2 Petitioners alleged that V.H. suffered from complex regional pain syndrome (“CRPS”)

1
  Because this decision contains a reasoned explanation for my action in this case, it will be posted on the website of
the United States Court of Federal Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347,
§ 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by 42 U.S.C. §
300aa-12(d)(4)(B), however, the parties may object to the inclusion of certain kinds of confidential information. To
do so, Vaccine Rule 18(b) provides that each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in substance and is
privileged or confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute
a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the decision will be available to the
public. Id.
2
  The National Vaccine Injury Compensation Program comprises Part 2 of the National Childhood Vaccine Injury
Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755 (codified as amended, 42 U.S.C.A. ' 300aa-10 – 34 (2006))
[hereinafter “Vaccine Act” or “the Act”]. Individual sections references hereafter will be to ' 300aa of the Act.
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as a result of receiving the human papillomavirus (“HPV”) vaccine on March 23, 2010. In her
Rule 4(c) report, filed on April 30, 2013, Respondent conceded that V.H. had suffered CRPS due
to receipt of the HPV vaccine. In view of Respondent’s concession the special master previously
responsible for this action issued a ruling, dated May 3, 2013, finding that Petitioners had
established that V.H. was entitled to compensation for the injury, and subsequently issued an
order indicating that this case was ready for the damages phase. Thereafter, on December 5,
2014, Respondent filed a proffer awarding compensation. I subsequently issued a decision
finding the proffer to be reasonable and granting Petitioner an award as outlined in the proffer.

       On February 2, 2015, the parties filed a stipulation indicating that they had now reached
an agreement regarding attorneys’ fees and costs. The parties have stipulated that Petitioners’
counsel should receive a lump sum of $21,000.00, in the form of a check payable to Petitioners
and Petitioners’ counsel. In addition, and in compliance with General Order #9, Petitioners have
represented that they did incur any reimbursable costs in proceeding on this petition.

        I approve the requested amount for attorneys’ fees and costs as reasonable. Accordingly,
an award of $21,000.00 should be made in the form of a check payable to Petitioners and
Petitioners’ counsel, Mark T. Sadaka. In the absence of a motion for review filed pursuant to
RCFC Appendix B, the clerk of the court SHALL ENTER JUDGMENT in accordance with
the terms of the parties’ stipulation.3


        IT IS SO ORDERED.
                                                                /s/ Brian H. Corcoran
                                                                   Brian H. Corcoran
                                                                   Special Master




3
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by each filing (either jointly or
separately) a notice renouncing their right to seek review.
                                                      2
